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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


    United States of America,

                           Plaintiff,

             V.



    Edward Snowden,
                                                               Civil Action No. 1:19-cv-1197
                            Defendant,                         Hon. Liam G'Grady
    and


    Macmillan Publishing Group,LLC d/b/a
    Henry Holt and Company,et al.,

                            Relief-Defendants.


                   FINAL JUDGMENT AND PERMANENT INJUNCTION
                      AGAINST DEFENDANT EDWARD SNOWDEN

          Plaintiff United States filed the above-captioned lawsuit against Defendant Edward

 Snowden, based on his publication ofa book entitled Permanent Record (Count One of the

 Amended Complaint, or the "Permanent Record claim"), and certain paid, intelligence-related

 speaking engagements(Count Two ofthe Amended Complaint, or the "speeehes claim") without

 first seeking prepublication review by the Government for a determination of whether the

 disclosures contained classified information. See generally Am. Compl., Dkt. No. 15,       109-22.

 The United States alleged that these disclosures violated the terms of Secrecy Agreements that

 Snowden signed with the Central Intelligence Agency("CIA")and National Security Agency
("NSA"), which provided that prior to making disclosures regarding or based upon classified or

 purportedly classified information or his intelligence work for the agencies, he would comply

 with the prepublication review requirements set forth in his non-disclosure agreements. Id. The
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